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UNITED sTATEs DISTRICT CoURT %Lp’
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WESTERN DISTRICT oF TENNESSEE

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UNITED sTATES oF AMERICA ) t -;

) CR. No. 04-20460`-13'"re `-
vs. )

)
CHRISTOPHER M. WALDEN, )

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
The United States Attorney’s Ofiice app}ies to the Court for a Writ to have Christopher M.
Walden, No. 181 628, now being detained in the Gerrnantown Jail, appear before the Honorable Tu M.
Pham, on Wednesday, May 25, 2005, at 9:30 a.m., for an Arraignment and for such other
appearances as this Court may direct.

Respectfu]ly Submitted., this 23rd day of May, 2005.

Ab-/

rIMoTHY R. DiSCENzA
Assistant U. S. Attorney

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Upon consideration of the foregoing Appiication, David Jolley, U.S. Marshal, Western District
of Tennessee, Memphis, TN SherifffWarden, Germantown Jail.

YOU ARE HEREBY COMMANDED to have Christopher M. Walden, No. 181 628, appear
before the Honorable Tu M. Pham at the date and time aforementioned

ENTERED this 23rd day of May, 2005.

Thls document entered on the docket sheet In compliance 4 VL d/l/Lb }( W¢W/'/l/F/
with Hule 55 and/or 32(b) FHCrP en UNITED STATES MAG]STRATE IUD

   

 

 

 

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Honorable .1. Breen
US DISTRICT COURT

